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            IN THE UNITED STATES DISTRICT COURT
          FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
JONATHON DIFRAIA,                       :    Civil No. 1:23-CV-01187
                                        :
           Plaintiff,                   :
                                        :
           v.                           :
                                        :
KEVIN RANSOM, et al.,                   :
                                        :
           Defendants.                  :    Judge Jennifer P. Wilson

                                   ORDER

     AND NOW, on this 8th day of July, 2024, for the reasons set forth in the

accompanying memorandum, IT IS ORDERED THAT:

     1. Defendants’ motions to dismiss, Docs. 19, 21, are
        GRANTED.

     2. The Eighth Amendment claim is DISMISSED without
        prejudice.

     3. The Americans with Disabilities Act claim is DISMISSED
        with prejudice as to the eight individual Defendants named in
        the complaint.

     4. The Fourteenth Amendment claim is DISMISSED without
        prejudice.

     5. The FTCA claim is DISMISSED with prejudice as to the
        eight individual Defendants named in the complaint.

     6. The medical negligence claim is DISMISSED without
        prejudice.

     7. The defamation claim is DISMISSED without prejudice.

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8. Any criminal claims raised in the complaint are DISMISSED
   with prejudice.

9. Plaintiff is granted leave to file an amended complaint by
   August 9, 2024. Failure to timely file an amended complaint
   will result in the complaint being dismissed with prejudice
   and the case being closed.

10.The Clerk of Court shall forward to Plaintiff two (2) copies of
   this court’s prison civil-rights complaint form, which Plaintiff
   shall use in preparing his third amended complaint.

                                 s/Jennifer P. Wilson
                                 JENNIFER P. WILSON
                                 United States District Judge
                                 Middle District of Pennsylvania




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